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  5
  6   Attorney for Debtor

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  9
                                 UNITED STATES BANKRUPTCY COURT
 10                              NORTHERN DISTRICT OF CALIFORNIA

 11   In Re                                                Case No. 13-10068
 12   Judith Katherine Browning                            Chapter 13
 13
             Debtor.
 14   ______________________________/
      Judith Katherine Browning                            APN 18-01014
 15
              Plaintiff,
 16
 17   vs.

 18   CITI Financial Services
 19         Defendant.
 20   ______________________________/

 21                                       CERTIFICATE OF SERVICE
 22           I, Merla Anders, declare:
 23
              I am a citizen of the United States and resident of Sonoma County, California, I am over
 24
      the age of eighteen and not a party to the within entitled action; my business address is 100 E
 25
      Street, Suite 219, Santa Rosa, California 95404.
 26
 27           On May 9, 2018, I served the Notice, Discovery Order, Adversary Proceeding Cover

 28 Sheet, Alias Summons and Complaint on the parties in the said action by placing a true copy


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  1 thereof, enclosed in a sealed envelope, with postage thereon fully prepaid in the United States
  2
      mail at Santa Rosa, California addressed as follows:
  3
    Michael Corbat, President/CEO                            Via Certified Mail/Return Receipt Requested
  4 Citifinancial/Citimortgage
    1000 Technology Drive
  5 O’Fallon, MO 63368
  6
             I declare under penalty of perjury that the foregoing is true and correct. Executed on
  7
      May 9, 2018, at Santa Rosa, California.
  8
  9
                                                                   /s/ Merla Anders
 10                                                                MERLA ANDERS

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